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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO



Civil Action No. 21-CV-00796-MEH


UNITED STATES OF AMERICA,
                            Plaintiff
        v.


121 ASH ROAD, BASALT, COLORADO
                            Defendant



 HENKE PROPERTY LLC’S RESPONSE TO GOVERNMENT’S MOTION TO STRIKE
                   HENKE’S CLAIM AND ANSWER


        Henke Property, LLC (“Henke” or “Henke Property”) respectfully files this response

to the government’s Motion to Strike Henke’s Claim and Answer.

   I.        INTRODUCTION

        This civil forfeiture action concerns defendant property known as 121 Ash Road,

Basalt, Colorado. Plaintiff the United States commenced this action on March 18, 2021,

asserting that 121 Ash Road constitutes property involved in a transaction in criminally

derived property or constitutes or was derived from proceeds traceable to wire or bank

fraud. See generally ECF No. 1, Complaint. It is undisputed that Henke, as owner of

121 Ash Road, has standing to contest the forfeiture. ECF No. 33, Mot. at 10 n. 3.

Instead, the government challenges the authority of Henke’s authorized agent, Carl

Linnecke, to act as Henke’s representative in this action. But Mr. Linnecke, who has

served as Henke’s registered agent since 2007, attested under penalty of perjury that he
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is Henke’s authorized representative, and that alone demonstrates he is authorized to act

on Henke’s behalf in this action.

       To get around this, the government misapprehends an Appointment of Agent

document and argues, based on its self-serving and erroneous interpretation of that

document, that Mr. Linnecke must be prohibited from acting as Henke’s agent in this

action because he is prohibited from selling, transferring, or mortgaging the property.

Assuming, arguendo, the Court is inclined to go beyond the pleadings (and facts subject

to judicial notice) and consider such extrinsic evidence, the plain language of that

document authorizes Mr. Linnecke to take such action as he shall determine to be in the

best interest of Henke, including executing documents in connection with the operation

of 121 Ash Road. By executing documents on behalf of Henke in this action, Mr. Linnecke

is acting in the best interest of Henke, in furthering Henke’s claim to prevent the sale,

transfer, or other disposition of the property, i.e., to preserve the status quo.        The

government attempts to turn the Appointment of Agent document on its head and insert

a prohibition into the document that doesn’t exist.

       The government’s motion also jumps the gun by challenging Henke’s claim as

illegitimate, blindly asserting that Henke filed a false claim because Henke is a “sham”

LLC meant to “disguis[e] the actual beneficial owner, Mr. Robert Brockman’s, interests.”

ECF No. 33, Mot. at 18. The government’s false claim ignores the procedural posture of

this case, confuses standing with merits, and turns a blind eye to the fact that it ultimately

bears the burden of proving by a preponderance of evidence that the property is, in fact,

forfeitable. See 18 U.S.C. § 983(c)(1). The Court should deny the Motion to Strike.




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    II.      FACTUAL BACKGROUND

          Henke, a company that was formed in Colorado in 2005, 1 purchased 121 Ash

Road in December 2010. ECF No. 14-2, Special Warranty Deed. On June 9, 2021,

Henke filed a claim that asserted an interest in 121 Ash Road, based on Henke’s

ownership interest in the property, as evidenced by the special warranty deed attached

to Henke’s claim. ECF No. 14, Notice of Claim; ECF No. 14-2, Special Warranty Deed.

Henke’s claim was verified under penalty of perjury by Carl B. Linnecke, Henke’s

authorized representative. ECF No. 14-3, Declaration. On June 30, 2021, Henke filed

its verified Answer, denying any factual or legal basis for the United States’ claims as to

121 Ash Road. See generally ECF No. 17, Answer. Henke’s Answer was verified under

penalty of perjury by Mr. Linnecke. Id. at 19.

          Since April 2007, Mr. Linnecke has served as Henke’s registered agent. Request

for Judicial Notice, Ex. A, Henke Annual Report; Ex. 1, Declaration of Evatt Tamine

(“Tamine Decl.”) ¶ 3. On February 25, 2013, Mr. Linnecke was also appointed Henke’s

agent. ECF No. 33-3, Appointment of Agent. The Appointment of Agent document

provides that Mr. Linnecke is also Henke’s agent:

          for the purpose of managing, operating and developing the Properties
          [including 121 Ash Road], with the authority to take such action with respect
          thereto as he shall determine to be in the best interest of the Company,
          including, without limitation, the authority to execute such contracts,
          agreements and other instruments and documents as he may deem
          necessary or appropriate in connection with the management, operation
          and/or development of the Properties.




1
 Henke was formed in Colorado on September 7, 2005. ECF No. 17, Answer ¶ 78.
Henke is 100% owned by Henke Holdings LLC (“Henke Holdings”). Id.
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Id. (emphasis added); Ex. 1, Tamine Decl. ¶ 6. Notably, although the scope of Mr.

Linnecke’s authority does not include selling, transferring, or mortgaging 121 Ash Road,

he is not prohibited from acting in Henke’s best interest to prevent the sale, transfer,

mortgage, disposition, or other actions affecting title of the property. See ECF No. 33-3;

Ex. 1, Tamine Decl. ¶ 7.

          In fact, a later amendment to the Appointment of Agent on September 15, 2014 is

consistent with such authority. ECF No. 33-4, First Amendment to Appointment of Agent.

The amendment authorized Mr. Linnecke to execute documents relating to the

annexation of Lot 11 into the Ranch at Roaring Fork, which necessarily changed title to

the property.

   III.      LEGAL STANDARD

          In a civil forfeiture action, any person claiming an interest in the seized property

may file a claim asserting such person’s interest in the property. 18 U.S.C. § 983(a)(4)(A).

The claim shall be filed in the manner set forth in the Supplemental Rules for Admiralty

or Maritime Claims and Civil Forfeiture Actions (“Supplemental Rules”). Id. At any time

before trial, the government may move to strike a claim because the claimant lacks

standing. Supp. R. G(8)(c)(i)(B). There are thus two types of standing involved in civil

forfeiture cases: Article III standing, which is at issue in every federal case, and “statutory

standing,” which requires that a claimant satisfy statutory requirements of the

Supplemental Rules. See generally United States v. $38,000.00 in U.S. Currency, 816

F.2d 1538, 1543–47 (11th Cir. 1987).

          In order to have constitutional standing, “a claimant must have a colorable

ownership, possessory or security interest in at least a portion of the defendant property.”



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United States v. $31,000.00 in U.S. Currency, 872 F.3d 342, 348 (6th Cir. 2017) (citation

omitted). “Courts should not, however, conflate the constitutional standing inquiry with

the merits determination that comes later.” United States v. One-Sixth Share of James

J. Bulger in All Present and Future Proceeds of Mass Millions Lottery Ticket No. M246233

(Mass Millions Lottery Ticket No. M246233), 326 F.3d 36, 41 (1st Cir. 2003). That is why,

at this initial stage, “the requirements for a claimant to demonstrate constitutional standing

are very forgiving. In general, any colorable claim on the defendant property suffices.”

Id.

            Statutory standing is established by satisfying the requirements set forth in

Supplemental Rule G for filing a claim, which requires a claim that: identifies the specific

property claimed; identifies the claimant and the claimant’s interest in the property; is

signed by the claimant under penalty of perjury; and is served on the government attorney

designated under Rule G(4). Supp. R. G(5)(a)(i).

      IV.      ARGUMENT

               a. The Government Is Not Entitled to Judgment on the Pleadings That
                  Henke Lacks Standing

            Supplemental Rule G(8)(c) provides that a motion to strike a claim “may be

presented as a motion for judgment on the pleadings or as a motion to determine after a

hearing or by summary judgment whether the claimant can carry the burden of

establishing standing by a preponderance of the evidence.” Supp. R. G(8)(c)(ii)(B). “It is

clear from both the language and the structure of that rule that a claimant responding to

a motion for judgment on the pleadings has no evidentiary burden; rather, that burden

arises only when the government moves for a determination of standing after a hearing

or in summary judgment proceedings.” $31,000.00 in U.S. Currency, 872 F.3d at 354.

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      The government’s motion to strike here is fashioned as a motion for judgment on

the pleadings that challenges the legal sufficiency of Henke’s claim. See ECF No. 33,

Mot. at 8 (“standing must be determined at the earliest stage”). The motion does not seek

summary judgment, present summary-judgment-like evidence, or request an evidentiary

hearing. Nor could it, as the parties have not engaged in discovery. Although the motion

to strike relies on Henke’s responses to limited special interrogatories served pursuant to

Supplemental Rule G(6), even the Committee Notes to that rule acknowledge that such

interrogatories only authorize a “mo[tion] to dismiss a claim for lack of standing.” Comm.

Notes, Supp. R. G(6) (emphasis added). As such, Henke has no evidentiary burden in

opposing the government’s motion to dismiss/motion for judgment on the pleadings.

Further, in ruling on the motion, the Court must construe the claim’s allegations “in the

light most favorable to the non-moving party.” Fleming v. Pickard, 581 F.3d 922, 925 (9th

Cir. 2009). As detailed below, Henke’s claim and matters subject to judicial notice

establish that Henke has standing, and that Mr. Linnecke is an agent with authority to

represent Henke in this action.

                 i. Henke Has Article III Standing

      As to constitutional standing, “the requirements . . . are very forgiving.” Mass

Millions Lottery Ticket No. M246233, 326 F.3d at 41. As the court noted in Mass Millions

Lottery Ticket No. M246233:

          In general, any colorable claim on the defendant property suffices.
          $81,000, 189 F.3d at 35 (“Courts generally do not deny standing to a
          claimant who is either the colorable owner of the res or who has any
          colorable possessory interest in it.”); see United States v. 7725 Unity
          Ave. N., 294 F.3d 954, 957 (8th Cir. 2002) (“The claimant need only
          show a colorable interest in the property, redressable, at least in part, by
          a return of the property.”); 5 S 351 Tuthill Rd., 233 F.3d at 1023 (claimant
          must show only “actual stake in the outcome” of forfeiture); Cambio

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          Exacto, 166 F.3d at 527 (“[W]hile ownership and possession generally
          may provide evidence of standing, it is injury to the party seeking
          standing that remains the ultimate focus.”); United States v. One 18th
          Century Colombian Monstrance, 797 F.2d 1370, 1375 (5th Cir. 1986)
          (claimant “must be able to show at least a facially colorable interest in
          the proceedings sufficient to satisfy the case-or-controversy requirement
          and prudential considerations”) (internal quotation omitted); see also
          United States v. 221 Dana Ave., 261 F.3d 65, 71 & n. 5 (1st Cir. 2001)
          (noting congressional intent that ownership be broadly defined to include
          anyone with legal or equitable interest in property).

Id.

       The government does not dispute that Henke owns 121 Ash Road and thus that

Henke has a “colorable claim” on the property. ECF No. 14, Henke’s Claim; ECF No. 33,

Mot. at 10 n.3. The claim asserts, under penalty of perjury, that Henke is the rightful

owner of 121 Ash Road and attaches a special warranty deed reflecting Henke’s

ownership interests in the property. ECF No. 14, Claim; ECF No. 14-2, Special Warranty

Deed. Thus, Henke has adequately set forth its alleged interest in the property, so as to

have Article III standing to contest the forfeiture requested by the Government.

                  ii. Henke Has Statutory Standing

       As to statutory standing, under Supplemental Rule C(6)(a)(iii), an agent, bailee, or

attorney may file a claim for seized property, provided the filer states their authority to act

on behalf of another. United States v. Real Property Located at 4527-4535 Michigan

Avenue, Detroit, Michigan, 489 F. App'x 855, 858 (6th Cir. 2012); see also Supp. R. G(1)

(incorporating Supplemental Rules C and E to the extent that Supplemental Rule G does

not address an issue). If the company’s claim complies with Supplemental Rule G and is

filed by an agent demonstrating appropriate authority to act on the corporation’s behalf,

the corporation has carried its burden to establish statutory standing. See United States

v. Four Thousand Two Hundred Seventy-Eight Dollars, No. 12–10253, 2014 WL

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3420774, at *3–*6 (E.D. Mich. July 14, 2014) (company’s claim filed by registered agent

and president sufficient to establish standing); U.S. v. ADT Sec. Servs., Inc., 522 F. App'x

480, 490 (11th Cir. 2013) (claim met statutory-standing requirements, even though it was

brought on behalf of a non-existent LLC, because it was verified by person who stated

that he was LLC’s “managing member”); see also United States v. $196,969.00 U.S.

Currency, 719 F.3d 644, 646 (7th Cir. 2013) (“bald assertion” of ownership strictly

complies with Rule G).

       Henke’s notice of claim here meets the requirements of Supplemental Rule G

because it: (1) identifies the specific property claimed as 121 Ash Road, Basalt, Colorado,

the defendant in this action; (2) identifies Henke as the true owner of 121 Ash Road, as

evidenced by the special warranty deed attached to the notice of claim; (3) is signed by

the claimant, Henke, through its authorized representative, Mr. Linnecke, who stated

under penalty of perjury that he was authorized to do so; and (4) was served on the

government attorney designated under Rule G(4). Supp. R. G(5)(a).

                iii. Mr. Linnecke Is an Authorized Agent

       As to Mr. Linnecke’s authority to act on behalf of Henke in this action, the Court

can take judicial notice of the fact that Mr. Linnecke has been Henke’s registered agent

with the State of Colorado since April 26, 2007. Request for Judicial Notice, Ex. A, Henke

Annual Report. A registered agent has authority to speak on the company’s behalf in a

forfeiture action. Four Thousand Two Hundred Seventy-Eight Dollars, 2014 WL 3420774,

at *5–*6. In Four Thousand Two Hundred Seventy-Eight Dollars, the court rejected an

agent’s claim for seized property in his individual capacity but held the claim asserted on

a corporation’s behalf was valid because the agent was the corporation’s registered agent



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and president. Id.; see also United States v. 2005 Pilatus Aircraft Bearing Tail No.

N679PE, No. 2:12-CV-223, 2015 WL 12839118 (S.D. Tex. July 16, 2015) (granting

motion for fugitive disentitlement based on claim brought by company’s registered agent

in forfeiture action).

       As Henke’s registered agent—and property manager for 121 Ash Road (see ECF

No. 17, Answer, ¶ 85)—Mr. Linnecke is a representative of Henke and point of contact

between Henke and the outside world. Thus, the declaration here supporting Henke’s

claim is sufficient, as it is signed under penalty of perjury by Mr. Linnecke, who attested

that he is Henke’s authorized representative—consistent with his status as Henke’s

registered agent—and that the information contained in the claim is true and correct. ECF

No. 14-3, Declaration. This meets the requirements of Supplemental Rule G. See Supp.

R. G., advisory committee’s note, sub. 5(a) (2006) (“The claim must be signed under

penalty of perjury by the person making it. An artificial body that can act only through an

agent may authorize an agent to sign for it.”).

       None of the cases the government cites require a different result. In ADT Sec.

Servs., the court considered whether a nonexistent LLC that was never properly formed

as an LLC had standing to assert a claim on its own behalf or on behalf of other LLCs,

which owned the defendant properties. ADT Sec. Servs., 522 F. App’x at 487–88, 490–

91. The authority of the agent who signed the claim on behalf of the purported LLC was

not at issue in that case. In fact, the court found that, as to statutory standing, the

purported LLC was properly before the court within the technical meaning of

Supplemental Rule G(5) because the claim was signed under penalty of perjury by the

purported LLC’s agent, who asserted he was its “managing member.” Id. at 490. As to



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 whether the purported LLC could file the claim on behalf of other LLCs as their minority

 members, the court held it could not because the LLCs were manager-managed and,

 under state law, a member of a manager-managed LLC does not have authority to act

 solely by reason of being a member. Id. at 491. In contrast to the nonexistent LLC in

 ADT Sec. Servs. whose authority as a minority member was inconsistent with state law,

 Mr. Linnecke has been given authority to act on behalf of Henke. See Colo. Rev. Stat.

 § 7-80-403; Request for Judicial Notice, Ex. A, Henke Annual Report; Ex. 1, Tamine Decl.

 ¶¶ 3, 8 (manager of Henke Holdings 2 (Henke Property’s sole manager) attesting Mr.

 Linnecke was and is authorized to act on behalf of, and take all necessary actions to

 represent, Henke Property).

        The 11th Circuit in ADT Sec. Servs. affirmed the district court’s decision in United

 States v. All Funds in the Acct. of Prop. Futures, Inc., 820 F. Supp. 2d 1305, 1329 (S.D.

 Fla. 2011) and, thus, Prop. Futures is distinguishable for the same reasons. Similarly,

 the court in United States v. Young, 77 F. Supp. 3d 1191 (D. Utah 2014) cited Prop.

 Futures for the rule that a member of an LLC does not have standing to file a claim on its

 own behalf to LLC-owned property. Id. at 1192 (citing Prop. Futures and noting, “like

 shareholders in a corporation, members of an LLC lack standing to contest the forfeiture

 of the LLC’s assets; they are merely general, unsecured creditors of the LLC”). None of

 these cases dealt with a registered agent’s authority to act on behalf of an LLC where, as

 here, the agent attested to his authority to act, the LLC filed the claim on its own behalf

 relating to property it owns, and it is undisputed that the LLC has standing.



 2
  Henke’s Answer erroneously stated that Evatt Tamine is Henke Property’s manager.
 ECF No. 17, Answer ¶ 8. Mr. Tamine is manager of Henke Holdings, not Henke Property.
 Ex. 1, Tamine Decl. ¶ 1.
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        United States v. 2014 Nissan Altima 2.5L VIN 1N4AL3AP9EC195679, 853 F.

 App'x 27 (7th Cir. 2021) is also distinguishable. There, a year after the civil forfeiture and

 judicial sale of a car used in a drug-trafficking business, the claimant moved to intervene

 and for relief from the judgment. Id. at 28. The court rejected the belated motion because

 the claimant submitted no evidence that he had a personal interest in the seized car or

 that he had standing to represent his then-defunct company’s alleged interest. Id. at 29.

 Specifically, he failed to allege, and produced no evidence, that he was the successor in

 interest to the defunct company for the seized property. Id. Last, in United States v. One

 2009 Maserati Granturismo, No. ED CV 15-2361 PA, 2016 WL 4502457 (C.D. Cal. June

 6, 2016), the claimant lacked authority to file claims on behalf of two entities because one

 of the entities had initiated bankruptcy proceedings (and the claimant was not the Chapter

 11 Bankruptcy Trustee with authority to file a claim for the seized property), and the other

 entity had forfeited its corporate charter based on a failure to file required franchise tax

 documents, meaning the organization—and any agents on its behalf—lacked standing to

 assert a claim.

        In sum, this case is nothing like those that dealt with the interests of a nonexistent

 or defunct company or LLC members filing claims on their own behalf relating to LLC-

 owned property. Instead, the claim here was brought by Henke Property—true owner of

 121 Ash Road—and signed under penalty of perjury by its registered agent, Mr. Linnecke.

 Construing the claim’s allegations in the light most favorable to the non-moving party, as

 the Court must, establishes that Mr. Linnecke has the authority to act as Henke’s

 authorized representative in this action.




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           b. Should the Court Consider Extrinsic Evidence, Mr. Linnecke Has
              Established He Is an Agent with Authority to Act on Behalf of Henke

        Should the Court be inclined to go beyond the pleadings and find that the motion

 to strike should be treated as a motion after an evidentiary hearing or summary judgment

 motion, Henke more than meets its burden of establishing standing by a preponderance

 of the evidence. See Supp. R. G(8)(c)(ii)(B).

        Based on its narrow misreading of the Appointment of Agent document, the

 government mistakenly concludes that Mr. Linnecke is “expressly prohibited . . . from

 proceeding as an authorized representative.” ECF No. 33, Mot. at 12. To reach this

 conclusion, the government ignores the Appointment’s language giving Mr. Linnecke

 “authority to take such action with respect [to the Properties] as he shall determine to be

 in the best interest of the Company, including, without limitation, the authority to execute

 such contracts, agreements and other instruments and documents as he may deem

 necessary or appropriate in connection with the management, operation and/or

 development of the Properties.” ECF No. 33-3, Appointment of Agent (emphasis added).

 Ignoring that, the government then narrows in on, and misapprehends, the document’s

 statement that Mr. Linnecke’s authority “shall not include the authority to sell, transfer,

 mortgage or take any other action affecting title to any of the Properties.” Id.

        In the government’s view, filing a claim in this forfeiture action is outside the scope

 of Mr. Linnecke’s authority because this case will affect whether Henke keeps its title to

 121 Ash Road. That position misses the mark. The limiting language is written to prevent

 Mr. Linnecke from making an unauthorized change in the company’s title to the property.

 See Ex. 1, Tamine Decl. ¶ 7 (manager of Henke Holdings (Henke Property’s sole

 manager) attesting Mr. Linnecke is not prohibited from acting in Henke Property’s best

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 interest to prevent disposition of property). The Appointment of Agent is designed for Mr.

 Linnecke to be responsible for the property while maintaining the status quo of ownership.

 Representing the company in its claim filed in this forfeiture action is consistent with that

 responsibility. Put differently, Mr. Linnecke refusing to act in the face of this forfeiture

 action would be impermissible, as it would have an actual effect on the title (and

 management and operation) of 121 Ash Road by forfeiting the property to the government

 uncontested.

        All told, Mr. Linnecke is a proper representative for Henke in this case given his

 designation as the company’s registered agent and his express appointment as an agent

 of the company for these purposes. But, should the Court disagree, the result would not

 be to strike Henke’s claim and Answer. Instead, as the government concedes, Henke

 should be entitled to cure with a properly authorized representative under Federal Rule

 of Civil Procedure 15.

           c. Henke’s Answer Is Adequate

        The government’s remaining argument, that “Mr. Linnecke’s lack of company

 knowledge” renders the Answer insufficient, is factually and legally wrong and confuses

 standing with merits. ECF No. 33, Mot. at 18. First, as detailed above, Mr. Linnecke is

 authorized to serve as Henke’s agent in this action. As such, he properly attested in his

 declaration attached as Exhibit C to Henke’s Notice of Claim that Henke’s claim, brought

 as the true owner of 121 Ash Road, is not frivolous. ECF No. 14-3, Declaration. He

 similarly properly verified the contents of Henke’s Answer. ECF No. 17, Answer.

        Second, as “evidence” of Mr. Linnecke’s lack of “company knowledge,” the

 government argues it is improper for Henke to deny the Complaint’s allegations based on



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 lack of knowledge as to the actions of Mr. Tamine (Henke Holdings’ manager) and

 Regency Management (Henke Property’s director). ECF No. 33, Mot. at 2, ¶ 3 (citing

 Answer’s denials on lack of knowledge). The government surmises the denials are

 “because Mr. Linnecke, himself, lacks knowledge—not Henke Property.” Id. at 18. Yet,

 many of the denials the government takes issue with relate to the Complaint’s allegations

 concerning acts of Edge Capital Investments, Ltd. (“Edge Capital”) and Point

 Investments, Ltd. ("Point Investments")—acts not within “company knowledge.” E.g.,

 ECF No. 17, Answer, ¶¶ 12-13, 40-42, 52-53, 71-73, 76, 89, 92, 95, 100-101, 103, 105,

 107-108.

        The government does not cite any legal authority to support its theory that acts of

 one entity can be imputed to another—i.e., Mr. Tamine’s actions taken while director of

 Edge Capital can be imputed to Henke Property merely because Mr. Tamine is manager

 of Henke Holdings (Henke Property’s manager). The government similarly provides no

 explanation for why Henke should have knowledge of Point Investments’ acts. Instead,

 the government appears to argue that, because the companies are so-called “shams” to

 disguise their actual beneficial owner, Mr. Brockman, the circumstances justify

 disregarding the corporate entities. ECF No. 33, Mot. at 18; see also id. at 18-19

 (suggesting Henke’s claim is a false claim); but see United States v. Funds in the Amount

 of $239,400, 795 F.3d 639, 645 (7th Cir. 2015) (“This is not a case where a claimant

 asserts ownership of a painting stolen from the National Gallery in Washington.”). Henke

 disagrees that it is a “sham” entity but, in any event, that is a merits determination that the

 government must prove later, and the jury must decide. Mass Millions Lottery Ticket No.

 M246233, 326 F.3d at 41 (“Courts should not, however, conflate the constitutional



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 standing inquiry with the merits determination that comes later.”); United States v.

 $148,840.00 in U.S. Currency, 521 F.3d 1268, 1276 (10th Cir. 2008) (“It may well be that

 forfeiture ultimately will prove appropriate, but we find it obvious that such a claimant risks

 injury within the meaning of Article III and thus may have his day in court.”).

        Indeed, Henke’s position in this case is that it is the bona fide purchaser of 121

 Ash Road, and it did not know and was reasonably without cause to believe that the

 property was subject to forfeiture. 3 18 U.S.C. § 983(d)(3). Thus, it makes no sense to

 say Henke—a company formed in 2005 in Colorado (ECF No. 33-2, Operating

 Agreement)—should have knowledge of, e.g., the formation of Edge Capital in the 1990s

 in Nevis and formation of Point Investments, Ltd. in 1999 in the British Virgin Islands, or

 the operation of those companies. E.g., ECF No. 1, Complaint ¶¶ 12-13, 40-42, 72, 89.

 Such an argument only succeeds if the government can prove by a preponderance of

 evidence at trial that the property is, in fact, forfeitable.

        To the extent the Answer contains denials based on lack of knowledge as to

 allegations of Henke’s own actions, that is due to the delay in Henke’s factual investigation

 of the allegations, as a result of counsel meeting and conferring on the issue. Following

 such factual investigation, Henke is now in a position to seek leave to amend its Answer.




 3
   Henke’s burden to prove its innocent owner defense does not arise until after the
 government meets its burden of establishing the forfeitability of the subject property. See
 18 U.S.C. § 983(c) & (d).
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    V.      CONCLUSION

         For the reasons set forth above, claimant Henke Property respectfully requests

 that the Motion to Strike be denied.

         DATED this 23rd day of February 2022.

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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 23 2022, a true and correct
 copy of the foregoing HENKE PROPERTY LLC’S RESPONSE TO GOVERNMENT’S
 MOTION TO STRIKE HENKE’S CLAIM AND ANSWER was filed with the Clerk of Court
 using the CM/ECF system, which will serve such filing on the following:

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                                                    /s/ Mina Tunson
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